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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        NORTHERN DIVISION

 Ledge Lounger, Inc.

               Plaintiff,                 Case No: 24-cv-11267

 v.                                       Hon. Thomas L. Ludington

 Global Lift Corp.,                       Magistrate Judge Patricia T. Morris
 d/b/a Global Pool Products,

               Defendant.

            Stipulated Order Regarding ESI Production Specifications

      Plaintiff Ledge Lounger, Inc. (“Ledge”) and Defendant Global Lift Corp.

(“Global”) (together, the “Parties”), by and through their respective counsel, hereby

agree to the following protocol (“Protocol”) for the production of documents.

1.    PURPOSES AND LIMITATIONS

      This Protocol is intended to provide for effective and efficient discovery in

accordance with the Federal Rules of Civil Procedure. Nothing in this Protocol is

intended to alter, expand, or affect any party’s rights or obligations under any order

by the Court or the Federal Rules of Civil Procedure. In addition, nothing in this

Protocol constitutes an admission by any party that any particular category of

discovery is appropriate in this Action or that there exists discoverable ESI.

2.    DEFINITIONS

      2.1     Action: the above-captioned matter.

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      2.2      Document: a collection of pages or file(s) constituting a logical single

communication of information produced or inspected as a single record pursuant to

Federal Rules of Civil Procedure 26 and 34, including hard copy and electronically-

stored information.

      2.3      Electronically-Stored Information or “ESI”: information or data that is

originally created, edited, used, communicated, and stored in digital format.

      2.4      Native Format or Native File: the associated file format defined by the

original application with which an electronic file was created.

      2.5      Hard Copy Document: any Document kept in physical, paper form, as

opposed to electronic form, in the usual course of business.

      2.6      Metadata: (i) information embedded in or associated with a Native File

that is not ordinarily viewable or printable from the application that generated,

edited, or modified such Native File which describes the characteristics, origins,

usage or validity of the electronic file or (ii) information generated automatically by

the operation of a computer or other information technology system when a Native

File is created, modified, transmitted, deleted or otherwise manipulated by a user of

such system.

      2.7      Bates number: a page-level unique alpha-numeric identifier associated

with every document produced, including physical sheets of paper, electronically-

stored TIFF images, or other tangible things, consisting of (1) an alphabetic portion



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identifying the Producing Party and/or other characteristics of the production; and

(2) a numeric portion incremented according to a scheme defined at the Producing

Party’s discretion to ensure that the alphanumeric identifier for each page of physical

sheets of paper, electronically-stored TIFF images, or other tangible thing is unique.

Document-level Bates numbers may be appropriate in limited circumstances such as

the production of native files.

      2.8    Extracted Text: the text extracted from a Document, and includes all

header, footer, and document body information when available.

      2.9    OCR Text: searchable text from a Document generated by means of

optical character recognition performed using appropriate software.

      2.10 Load File: an electronic file containing information identifying a set of

paper-scanned images or processed ESI and indicating where individual pages or

files belong together as documents, including attachments, and where each

document begins and ends. A Load File should also contain data relevant to the

individual Documents, including extracted and user-created Metadata as required by

Exhibit A, to the extent available.

      2.11 Discoverable Information: all documents and ESI that are discoverable

in this litigation pursuant to the Federal Rules of Civil Procedure; that are responsive

to specific requests for production; and that are not subject to an objection asserted

by the Producing Party.



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      2.12 Outside Counsel: the attorneys and employees of any external law firm

representing a Party in this Action.

      2.13 In-house Counsel: the attorneys employed directly by a Party, including

staff and other legal professionals acting at their direction.

      2.14 Producing Party: a party which is producing Discoverable Information.

      2.15 Receiving Party: a party which is receiving Discoverable Information.

      2.16 Sensitive Personal Identifying Information: includes information

protected from disclosure by specific laws or standards as well as sensitive personal

information which is not likely to be relevant to the issues in this matter, including,

but not limited to:

           Protected Health Information that is protected from public disclosure

             by the Health Insurance Portability and Accountability Act of 1996,

             pursuant to Title 45, Chapter 164 of the Code of Federal Regulations;

           Payment Card Information that identifies payment card details and

             account numbers of individual consumers; and

           Social Security numbers, driver’s license numbers, taxpayer

             identification numbers, passport numbers, state-issued identification

             numbers, financial account numbers, and dates of birth.




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3.    COOPERATION AND PROPORTIONALITY

      The Parties agree to meet and confer regarding any disagreements that arise

as a result of the implementation of this Protocol. If either Party encounters an issue

that the Party believes to justify deviation from this Protocol, that Party shall

promptly meet and confer with the opposing Party.

4.    IDENTIFICATION AND PRODUCTION OF POTENTIALLY
      DISCOVERABLE INFORMATION

      4.1    Production in Accordance with Federal Rules. The Parties agree to

identify, collect, and produce responsive Documents and ESI in accordance with the

Federal Rules of Civil Procedure.

      4.2    Searching ESI for Responsive Information. Each Producing Party shall

design and implement the methods it uses to identify, cull, and review its potentially

responsive ESI based on its knowledge and understanding of its own data, the facts

and issues involved in the Action, and the Receiving Party’s discovery requests. A

Producing Party may apply search terms to appropriate sources and may also

conduct a targeted collection of sources likely to contain responsive materials.

      4.3    Privacy Redactions. Producing Parties may redact Sensitive Personal

Identifying Information from responsive Documents prior to production. Any

Receiving Party who receives Documents including Sensitive Personal Identifying

Information shall treat such Documents as Confidential pursuant to the terms of the

protective order entered in this matter.


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      4.4   Phased Production. Producing Parties may phase the production of

Documents in accordance with Rule 34 of the Federal Rules of Civil Procedure.

      4.5   Deduplication. Each Party shall make reasonable efforts to remove

duplicate ESI, including without limitation electronic mail, to reduce unnecessary

cost of reviewing and producing duplicative ESI.

      4.6   Email Threading. The Parties may use email thread analysis to review

responsive documents, but each individually-responsive email must be produced.

Furthermore, responsive documents should be provided with full family members

(parent emails and attachments), even if some attachments may be nonresponsive,

with the exception that parent emails or attachments that may contain information

that is otherwise protected may be withheld.

      4.6   Review and Production of Hard Copy Documents. Each Producing

Party is entitled to collect, scan, and review its Hard Copy Documents before

producing only those Documents which are responsive and not privileged or subject

to other protection in the document production format described in Exhibit A. In

advance of production, the Producing Party may offer the Receiving Party the

opportunity to review some or all of its Hard Copy Documents as those Documents

are maintained in the ordinary course of business (which shall include any available

index to the boxes and files contained therein prepared by the Producing Party) so

that the Receiving Party may identify and designate which, if any, of the Documents



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it actually wants to select for scanning and production. This advance review shall

not constitute a waiver of any privileges or protections. The Producing Party shall

have the right to review any selected Documents for privilege, responsiveness, and

confidentiality before production.

      4.7   Production Format. Where practicable, the Parties shall produce

Documents and ESI in compliance with the format specified in Exhibit A attached

hereto. To the extent a Producing Party reasonably expects production of specific

Documents or ESI in the format described in Exhibit A will be unduly burdensome,

the Parties will meet and confer in good faith to attempt to agree on an acceptable

format for production pursuant to Federal Rule of Civil Procedure 34(b)(2)(D).

5.    NON-WAIVER OF PRIVILEGE

      5.1   Producing parties are not required to produce Documents until a

protective order is entered in this matter, which includes protections against the

waiver of privilege pursuant to Federal Rule of Evidence 502(d).

      5.2   Nothing contained herein is intended to or shall serve to limit a Party’s

right to conduct a review of Documents, ESI, or information (including metadata)

for relevance, responsiveness, and/or segregation of privileged and/or protected

information before production.




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6.    PREPARATION OF PRIVILEGE LOGS

      6.1    The obligation to provide a log of privileged or work product materials

pursuant to Federal Rule of Civil Procedure 26(b)(5) presumptively shall not apply

to communications between a Party or its Outside or In-House Counsel dated after

November 10, 2023 (the date the Complaint was filed). To the extent an email dated

on or prior to November 10, 2023 only relates to litigation strategy or trial

preparation and no other topics, a Party is only obligated to provide one log entry

per email chain per day. For the avoidance of doubt, documents and communications

related to infringement or non-infringement may not be consolidated in this manner.

Furthermore, nothing in this paragraph limits the disclosure requirements set out in

Fed. R. Civ. P. 26(b)(5).

      6.2    The Parties will exchange privilege logs 60 days after the relevant

production or 35 days before the close of discovery, whichever is earlier.

7.    MODIFICATION

      This Protocol may be modified by further agreement in writing by the Parties.

      IT IS SO ORDERED.

      Dated: September 4, 2024                s/Thomas L. Ludington
                                              THOMAS L. LUDINGTON
                                              United States District Judge




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   THE FOREGOING IS AGREED TO BY THE PARTIES BY AND
THROUGH THEIR RESPECTIVE COUNSEL OF RECORD:



 /s/ Christian T. Wolfgram with         /s/Thomas J. Davis
 permission                             Thomas J. Davis (P78626)
 Scott A. Burow                         KIENBAUM HARDY VIVIANO
 Matthew P. Becker                      PELTON & FORREST, P.L.C.
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                            Exhibit A - Document Production Format

 Both electronically stored information (“ESI”) and hard copy paper files should be produced in
 image format with the exception of certain ESI formats identified in the technical specifications
 below. Images shall be endorsed with a Bates number at the page level accompanied with text
 files containing the searchable text and a delimited data Load File containing associated document
 information and metadata for each document. The original native files shall be preserved.

 ESI shall be collected in a manner that preserves metadata to the extent reasonably possible. ESI
 shall be produced in a format that is reasonably usable to the same extent as the original native
 file.

 The parties shall, to the extent feasible, de-duplicate globally (i.e., across all custodians).
 Duplicates shall be removed from all ESI productions in a manner that does not break up document
 families – in other words, emails shall be treated as duplicates only if they are identical both in
 their bodies and in all their attachments, and an email attachment shall not be treated as a duplicate
 merely because an identical copy of the document exists as a separate file. ESI duplicates shall be
 identified by using industry standard MD5 algorithms to create and compare hash values for exact
 matches only. Any document containing handwritten notes, highlighting, alterations, or markings
 shall not be considered a duplicate of another version and, if responsive, must be produced as an
 original document. Any duplicate ESI that is not produced shall be preserved.

 Specific technical production format details:

       Hard copy paper files may be produced as .PDF; or as black and white 300 dpi TIFF format
        image files with Group IV compression and one TIFF file per page unless the files must be
        produced in color in order to be legible, in which instance the files shall be converted to
        JPEG format image files with 300dpi or higher and 24-bit color depth;

       ESI may be produced as .PDF; or as black and white 300 dpi TIFF format image files with
        Group IV compression and one TIFF file per page unless the files must be produced in
        color in order to be legible, in which instance the files shall be converted to JPEG format
        image files with 300dpi or higher and 24-bit color depth. All images shall be processed to
        show and reveal track changes, comments, and hidden content in Word documents;

       Parties may produce agreed-upon ESI in native format, such as spreadsheets (e.g., excel,
        google sheets, OpenOffice, CSV, TSV. etc.) and other files that cannot be converted to
        image format (such as audio, video, PPT, and XML files). Native files should contain the
        Bates number and confidentiality designation of the file in the file name. In addition, native
        files should be accompanied by an image format placeholder. The placeholder should be
        endorsed with “Native Format Document,” and endorsed with the Bates number and
        confidentiality designation assigned to that document. Any confidentiality or other
        designations stamped on the placeholder for such a document shall apply to the entire
        native file and its contents. Wherever feasible, the producing party shall include
        accompanying metadata in the load file. The parties agree not to remove metadata from a
        native production but may redact metadata that reveals privileged or protected information.



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        Additionally, if after reviewing production of other ESI in a non-native format, a receiving
        party believes that it is necessary to review a certain document or documents in native
        format, the parties agree to engage in discussion regarding production of discrete
        documents in native form, which production will not be unreasonably withheld;

       The parties will meet and confer regarding the production format for any specialized file
        types;

       Each image file shall be named with its unique Bates number and branded with the Bates
        number in the lower right corner and confidentiality designation (if any) in the lower left
        corner on the face of the image that does not cover up any of the document’s original text
        or images;

       One text file per document which contains searchable text for the document shall be
        provided for all ESI and scanned paper documents. Extracted full text in UTF-8 Encoded
        format shall be provided for ESI, and OCR Text shall be provided for scanned paper. OCR-
        generated text should only be used for ESI if Extracted Text is not available or if the
        document has been redacted. Text files shall be named with the beginning Bates number
        of the corresponding document and a path to the text file within the production should be
        provided in the data Load File;

       An image identification file shall be provided containing a row of information for every
        image included in the production. The format of the file should be industry standard IPRO
        format (LFP), Concordance Image format (OPT), or other delimited file format using
        common ASCII (American Standard Code for Information Interchange) characters for field
        identification that includes one row of information for each image with fields for image
        Bates number, relative path to the image, image filename, and document start identifier to
        designate the first page of a document;

       All document information and metadata for each document (with the exception of
        information and metadata related to redacted information) shall be produced in a delimited
        data Load File with one row for each document produced and shall include the document
        information and metadata identified in the table below to the extent it is available. All fields
        listed in the table below will be provided. There is no obligation to create additional fields,
        or to manually code those that are not automatically populated by the processing of ESI.
        The format of the file shall be industry standard Concordance DAT file format or a
        delimited text file that uses ASCII character delimiters as follows: Field Delimiter =
        “”ASCII (020), Text Quote = “þ” ASCII (254), Multi-Entry = “;” ASCII (059)




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                  Document Information and Metadata To Be Produced

                                                         Native Files &
       Field    Data Type           Paper                                                  Email
                                                       Email Attachments
ProdVolume      Integer-       Production            Production volume            Production volume
                Text           volume
ProdBeg         Integer -      Starting Bates #      Starting Bates #             Starting Bates #
                Text
ProdEnd         Integer -      Ending Bates #        Ending Bates #               Ending Bates #
                Text
ProdBegAttach   Integer -      Starting bates #      Starting bates # of          Starting bates # of
                Text           of document           document family              document family
                               family
ProdEndAttach   Integer -      Ending bates #        Ending bates # of            Ending bates # of
                Text           of document           document family              document family
                               family
Custodian       Text           Name of person        Name of person the           Name of person the
                               the document          document was                 document was
                               was collected         collected from               collected from
                               from
Folder          Text                                 Full file path/folder        File path/folder
                                                     structure for the            structure for the
                                                     original native file as it   original native file as
                                                     existed at the time of       it existed at the time of
                                                     collection                   collection. Should
                                                                                  include full path and
                                                                                  folder locations of
                                                                                  email container files
                                                                                  such as PST and NSF
                                                                                  and the internal path
                                                                                  of the email within
                                                                                  those files
From            Text -                                                            Sender of message
                paragraph
To              Text –                                                            Recipients of message
                paragraph
                Separate
                entries with
                “;”
CC              Text –                                                            Copied recipients
                paragraph
                Separate
                entries with
                “;”
BCC             Text –                                                            Blind copied
                paragraph                                                         recipients


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                  Separate
                  entries with
                  “;”
Subject           Text -                                                        Subject of message
                  paragraph
Date_Sent         Date                                                          Date message sent
                  (mm/dd/yy
                  yy)
Time_Sent         Time                                                          Time message sent
                  (h:mm
                  am/pm)
Date_Rcvd         Date                                                          Date message received
                  (mm/dd/yy
                  yy)
Time_Rcvd         Time                                                          Time message
                  (h:mm                                                         received
                  am/pm)
FileName          Text -                              Name of original file     Name of original file
                  paragraph                           including extension       including extension
FileExtension     Text                                Extension of original     Extension of original
                                                      file                      file
Date_Created      Date/Time                           Date file was created
                  (mm/dd/yy
                  yy h:mm
                  am/pm)
Date_LastMod      Date/Time                           Date file was last
                  (mm/dd/yy                           modified
                  yy h:mm
                  am/pm)
Title             Text -                              Title from document
                  paragraph                           metadata
Author            Text -                              Document author from
                  paragraph                           metadata
Company           Text -                              Document company or
                  paragraph                           organization from
                                                      metadata
Confidentiality   Text           Any                  Any confidentiality       Any confidentiality
                                 confidentiality      designation asserted on   designation asserted
                                 designation          the document              on the document
                                 asserted on the
                                 document
MD5 Hash          Text                                MD5 Hash Value of         MD5 Hash Value of
                                                      document                  document
Time Zone Field   Text                                Time Zone used to         Time Zone used to
                                                      process data              process data



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NativeLink      Text -                           Path including filename Path including
                paragraph                        to the associated nativefilename to the
                                                 file if produced        associated native file
                                                 (Relative Path)         if produced (Relative
                                                                         Path)
TextLink        Text -      Path including       Path including filename Path including
                paragraph   filename to the      to the associated       filename to the
                            associated           searchable text file    associated searchable
                            searchable text      (Relative Path)         text file (Relative
                            file (Relative                               Path)
                            Path)
Redacted        Text        Indicates            Indicates whether the      Indicates whether the
                            whether the          document contains          document contains
                            document             redactions                 redactions
                            contains
                            redactions




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